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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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ABIMALL ROSADO HERNANDEZ and
RAOUL CRUZ DOMINGUEZ.

on behalf of themselves and all
others similarly situated.

Plainults.
Vs. Docket No. 17-CV-4905 (ARR (CEP)

MAIDENBERG STEEL CORP.
and MOSHE MATDENBERG..

Delendants.

The undersigned counsel for the respective parties hereby stipulate to the dismissal of the

instant action. without prejudice. cach side to bear its respective costs and attorney's fees.

Dated: December 6'". 2017

Raab. smn & Ganchrow (EP. Law Offices of Brett M. Schatz. P.C.

    

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